Case 2:14-cv-00235-NBF-I\/|PK Document 119 Filed 06/21/16 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

RICHARD A. STERRETT,
Plaintiff, Civi1 Action NO.: 22 14~cV-0023 5-NBF-MPK
vs.

GIANT EAGLE, INC., and GIANT EAGLE, Judge Fischer

INC. d/b/a OK GROCERY COMPANY and Magistrate Judge Ke11y

OK GROCERY COMPANY, INC., and
GENERAL WAREHGUSEMEN &
EMPLOYEES, LOCAL UNION NO. 636,
affiliated With the INTERNATIONAL
BROTHERHOOD OF TEAMSTERS,

\/\/\/\/\/V\/\./\/\/V\/\/\/\/

Defendants.

CERTIFICATE OF NO TRANSCRIPT
Notice is hereby given that no transcript Will be Ordered as judgment Was entered On

motions.

ANSTANDIG MCDYER P.C.

BY:/s/Daniel P. McDVer
Daniel P. Mcher, Esquire
Pa. I.D. No. 19854
danmcdver@arnbvlaw.com
1300 Gulf TOWer
707 Grant Street
Pittsburgh, PA 15219-1911
412-765-3 700 Telephone
412-765-373 0 Facsimile
Attorney for Plaintiff

 

Case 2:14-cv-OO235-NBF-I\/|PK Document 119 Filed 06/21/16 Page 2 of 2

CERTIFICATE OF SERVICE

The undersigned hereby certify that a copy of the Within Certificate of No Transcript Was
filed and Was served by electronic mail through the ECF filing system on this 21St day of June,

2016 to the following:

Elly Heller-Toig, Esquire
lames F. Rosenberg, Esquire
Marcus & Shapira LLP
One GXford Centre, 35th Floor
301 Grant Street
Pittsburgh, PA 15219
ehtoig@marcus-Shaoira.com
Rosenberg@marcus~shaDira.com
412-471-3490
Counsel for Giant Eagle, Inc. & OK Grocery Cornpany

LaWrence R. Chaban, Esquire

2727 Grant Building
330 Grant Street

Pittsburgh, PA 15219

Email: lchaban@alnernschubertlaw.com
(412) 765-1888
Counsel for General Warehousemen & Employees,
Local Union No. 636
Afr`iliated With the lnternational Brotherhood of Teamsters

ANSTANDIG McDYER P.C.

BY: /$/Dcmie[fl). Mc®uer
Daniel P. Mcher, Esquire

 

